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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        DANIEL VALENTI,
                                   7                                                       Case No. 21-cv-06118-JD
                                                       Plaintiff,
                                   8
                                                v.                                         CLASS ACTIONS SUBJECT TO
                                   9                                                       PRIVATE SECURITIES LITIGATION
                                        DFINITY USA RESEARCH LLC, et al.,                  REFORM ACT (PSLRA) AND ADR
                                  10
                                                       Defendants.                         DEADLINES
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          IT IS HEREBY ORDERED that this action is assigned to the Honorable James Donato .

                                  14   When serving the complaint or notice of removal, the plaintiff or removing defendant must serve

                                  15   on all other parties a copy of this order, a copy of the “Model Stipulation and Proposed

                                  16   Consolidation Order for Securities Fraud Class Actions”, a copy of the “Sample Confidentiality

                                  17   Order”, and all other documents specified in Civil Local Rule 4-2. Counsel must comply with the

                                  18   case schedule listed below unless the Court otherwise orders.
                                  19          IT IS FURTHER ORDERED that this action is assigned to the Alternative Dispute

                                  20   Resolution (ADR) Multi-Option Program governed by ADR Local Rule 3. Counsel and clients

                                  21   shall familiarize themselves with that rule and with the material entitled “Dispute Resolution

                                  22   Procedures in the Northern District of California” on the Court ADR Internet site at

                                  23   http://www.cand.uscourts.gov/adr. A limited number of printed copies are available from the

                                  24   Clerk’s Office for parties in cases not subject to the court’s Electronic Case Filing program (ECF).

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                                   1    CASE SCHEDULE – ADR MULTI-OPTION PROGRAM

                                   2    Date                       Event                                                          Governing Rule

                                   3    8/9/2021                   Complaint Filed

                                   4    8/9/2021                   Plaintiff to file requisite certificate                        Civil L.R. 3-7(b)

                                   5    8/30/2021                  Last day for plaintiff to file copy of notice                  Civil L.R. 23-1(a)

                                   6    60 days after              Last day to file motion to serve as lead plaintiff             Civil L.R. 23-1(b)
                                        publication of
                                   7    notice

                                   8    10/28/2021                 *Last day to meet and confer re: initial                       FRCivP 26(f) &
                                                                   disclosures, early settlement, ADR process                     ADR L.R.3-5
                                   9                               selection, and discovery plan

                                  10    11/11/2021                 **Last day to complete initial disclosures or state            FRCivP 26(a) (1)
                                                                   objection in Rule 26(f) Report, file Case                      Civil _L.R . 16-9
                                  11                               Management Statement and file/serve Rule 26(f)
                                                                   Report
                                  12
Northern District of California
 United States District Court




                                        11/18/2021                 INITIAL CASE MANAGEMENT                                        Civil L.R . 16-10
                                  13                               CONFERENCE (CMC) at 10:00 AM in
                                                                   Courtroom 11, 19th Floor
                                  14                               Phillip Burton Federal Building
                                                                   450 Golden Gate Avenue
                                  15                               San Francisco, CA 94102
                                  16
                                       * If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 21
                                  17   days in advance of the Initial Case Management Conference.

                                  18   ** If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 7
                                       days in advance of the Initial Case Management Conference.
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